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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         Case No. 19-25226-Civ-COOKE/GOODMAN

WINDY LUCIUS,

        Plaintiff,

vs.

ABERCROMBIE & FITCH STORES, INC.,
      Defendant.
____________________________________/
                          ORDER ADMINISTRATIVELY CLOSING
                           CASE ON NOTICE OF SETTLEMENT
        THIS MATTER comes before me on Plaintiff ’s Notice of Settlement (ECF No. 11). The
parties have conditionally settled this matter, and it will be administratively closed pending the
parties filing a stipulation of final dismissal under Federal Rule of Civil Procedure
41(a)(1)(A)(ii) or moving for dismissal under Rule 41(a)(2).
        A stipulation of final dismissal, or a motion for dismissal, must be filed within 30 days of
this Order. In the event a stipulation of final dismissal is filed under Federal Rule of Civil
Procedure 41(a)(1)(A)(ii), and the parties desire the Court to have continuing jurisdiction to
enforce the terms of the settlement agreement, they must condition the stipulation on this Court
entering an order retaining jurisdiction. See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272
(11th Cir. 2012). The Clerk will administratively CLOSE this case. All pending motions are
DENIED as moot.
        DONE and ORDERED in Chambers, in Miami, Florida, this 26th day of February
2020.




Copies provided to:
Jonathan Goodman, U.S. Magistrate Judge
Counsel of Record
